Filed 04/29/20                          Case 19-12351                               Doc 81



                                UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF CALIFORNIA
                                        CIVIL MINUTES
            _____________________________________________________________________
            Case Title: Erica Alejandra Gomez   Case No.: 19-12351 - B - 13
                                                Docket Control No. MHM-5
                                                Date: 04/29/2020
                                                Time: 9:30 AM

            Matter: [69] - Motion/Application to Disgorge Fees [MHM-5] Filed by
            Trustee Michael H. Meyer (fdis)

            Judge: René Lastreto II
            Courtroom Deputy: Debbie Chavez
            Reporter: Not Recorded
            Department: B
            _____________________________________________________________________
            APPEARANCES for:
            Movant(s):
            None
            Respondent(s):
            None
            _____________________________________________________________________
                                        CIVIL MINUTES
           HEARING TO BE HELD ON 6/24/2020 at 9:30 AM at Fresno Courtroom 13,
           Department B


           The court will issue an order.

           Pursuant to the respondent’s request, and due to the information
           contained in the request in addition to the circumstances surrounding
           the COVID-19 pandemic, this matter is continued to June 24, 2020 at
           9:30 a.m.

           Debtor shall file and serve a status report on the progress of the
           loan modification not later than June 10, 2020. Respondent may file
           and serve a supplemental response to address the merits of the chapter
           13 trustee’s motion not later than June 10, 2020. The chapter 13
           trustee may file and serve a response not later than June 17, 2020.
